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_________________________________________________________________________________

                                                    SO ORDERED,



                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI
                            (ABERDEEN DIVISIONAL OFFICE)


IN RE:                                               CASE NUMBER: 18-13868-JDW

DARRELL L. BRADLEY                                   CHAPTER 13
LATONYA PEGUES

         DEBTORS

                                       AGREED ORDER

         Considering the Objection to Plan (#18) filed by AmeriCredit Financial Services, Inc. dba

GM Financial (“Secured Creditor”), the hearing scheduled for January 8, 2019, and the agreement

between the parties having been reached:

         IT IS ORDERED that the Debtors’ Chapter 13 Plan is hereby amended to provide for

payment to Secured Creditor on its secured claim relative to the 2012 Nissan Altima at $7,200.00

at 6.75% interest and that Secured Creditor will release the lien upon the earlier of payment of the

debt as determined under nonbankruptcy law or discharge.

                                      ##END OF ORDER##
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Approved:


/s/ Gregory J. Walsh
Gregory J. Walsh
Attorney for Secured Creditor


/s/ Karen B. Schneller
Karen B. Schneller
Attorney for Debtors


/s/ W. Jeffrey Collier for
Locke D. Barkley
Trustee

Submitted by:

GREGORY J. WALSH (MS Bar No. 104344)
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New Orleans, LA 70115
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Attorney for Secured Creditor
